    Case 5:24-cv-00319-KK-DTB         Document 44 Filed 08/14/24             Page 1 of 1 Page ID
                                            #:354
                           UNITED STATES DISTRICT COURT                                      JS-5
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 5:24-cv-00319-KK-DTBx                                    Date August 14, 2024

Title: Jimmy Yarbrough v. San Bernardino County, et al.

Present: The Honorable Kenly Kiya Kato




                  R. Maurice                                              N/A
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          ✘ In Chambers
                                    G                   G Counsel Notified

✘ Case previously closed in error. Make JS-5.
G

G Case should have been closed on entry dated                            .

G Case settled but may be reopened if settlement is not consummated within                     days.
  Make JS-6.

G Other

G Entered                                  .




                                                                  Initials of Preparer       ram




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
